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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

         Plaintiff,

    v.                                                               Case No. 11-20551-52

  D-52 JOSH BARNES,

         Defendant.
                                                  /

    OPINION AND ORDER GRANTING GOVERNMENT’S MOTION FOR FINDING OF
                 EXCUSABLE NEGLECT AND EXTENDING TIME

         Before the court is the government’s Amended Combined Motion for a Finding of

  Excusable Neglect and Motion for Extension of Time filed January 12, 2017. (Dkt.

  # 1591.) In its motion, the government asks the court to extend the time for it to file its

  response to Petitioner’s Motion to Vacate Sentence under 28 U.S.C. § 2255. Though

  the government’s response was due nearly two months prior, on November 15, 2016,

  the court finds that the government’s failure to file its motion on time was due to

  excusable neglect, and will grant the motion under Federal Rule of Civil Procedure

  6(b)(1)(B).

         The court expects deadlines to be honored, of course, but the court recognizes

  government counsel’s prior timely filings and the extraordinary scope and breadth of this

  indictment. The relatively small difference between the 72-month sentence actually

  imposed in April, 2015, and the more favorable, but still hypothetical, sentence of 60

  months now estimated by the government assuming the petition were deemed timely
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  and properly granted, shows that a delay of even longer than several months in the

  government’s response would impose no prejudice on Petitioner. Accordingly,

             IT IS ORDERED that the government’s Motion for Finding of Excusable Neglect

  (Dkt. # 1591) is GRANTED. The government is DIRECTED to file its response by

  February 10, 2017.

             The deadline for Petitioner to file his reply is EXTENDED. Petitioner’s reply is

  due by March 10, 2017.



                                                                                 s/Robert H. Cleland            /
                                                                                 ROBERT H. CLELAND
                                                                                 UNITED STATES DISTRICT JUDGE
  Dated: February 1, 2017

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, February 1, 2017, by electronic and/or ordinary mail.


                                                                                  s/Shawna C. Burns             /
                                                                                  Case Manager Generalist
                                                                                  (810) 984-2056




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